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                    EXHIBIT C
             Case: 1:23-cv-01735-BMB Doc #: 1-3 Filed: 09/05/23 2 of 2. PageID #: 33




From:                          OCA FOIA <OCAFOIA@sba.gov>
Sent:                          Friday, October 14, 2022 2:51 PM
To:                            Gupta, Manju
Subject:                       U.S. Small Business Administration (SBA) Response to Freedom of Information Act
                               (FOIA) Request re: SBA-2022-007775




Dear Mr. Gupta,

This is to inform you that due to the COVID-19 pandemic and the need to consult, with all practicable speed,
among two or more components of the Administration having a substantial interest in the determination of the
request we are taking a 10-workday extension under 13 C.F.R. §102.5. We estimate providing a final response
to you on October 31, 2022; however, please note this date may be subject to change. We will notify you of any
changes to this date.

Sincerely,

Office of Capital Access




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